Case 2:03-cV-02330-SHI\/|-cgc Document 414 Filed 07/21/05 Page 1 of 6 Page|D 718

 

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IN THE UNITED sTATES DISTRICT coURT BY ~?6=~ D.c.
FoR THE WESTERN DISTRICT oF TENNESSEE 05 JUL 2,
WESTERN DIvIsIoN A" '0-' 115
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LECTROLARM CUsToM ) him 111111,13
sYsTEMs, INC., )
)
Plainrirf, )
)
v. ) NO.: 03-2330 Ma-An
)
vlcoN INDUSTRIES, INC., er 31., )
)
Defendants. )
oRDER sETTING HEARING

 

Mr. Sean W. Gallagher, counsel for Sensormatic, Wrote the Court on July 18, 2005
requesting that the Court schedule a status hearing in this matter. On July 19, 2005, Mr. Kenneth
W. Brothers, counsel for Plaintiff, responded by letter. After review, it is ordered that a
telephone conference be held before United States Magistrate Judge S. Thornas Anderson on
MONDAY, JULY 25, 2005 at 2:00 P.M. in the Magistrate Judge Courtroom, 4“‘ Floor, 111 S.
Highland, Jackson, Tennessce.

Local counsel for the parties are invited to attend the telephone conference in person, and

lead counsel or their designees are required to attend via telephone. Mr. Gallagher shall contact

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counsel for the parties, and shall then contact the Magistrate Judge’s courtroom at 731-421-6323.

IT IS SO ORDERED.

5%#`: @.)

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: w 20. 20&1/
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This notice confirms a copy of the document docketed as number 414 in
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Honorable Samuel Mays
US DISTRICT COURT

